                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


HARDY AND KELLY LLC                         )
                                            )
v.                                          ) NO. 3-11-0155
                                            ) JUDGE CAMPBELL
QBE INSURANCE CORP., et al.                 )


                                            ORDER

       Pending before the Court is Defendant Specialty Insurance Agency, Inc.’s Motion to Dismiss

(Docket No. 12). For the reasons stated in the accompanying Memorandum, Defendant’s Motion

is GRANTED in part and DENIED in part. Plaintiff’s claims against Defendant Specialty Insurance

Agency for breach of contract and bad faith refusal to pay are DISMISSED.

       IT IS SO ORDERED.


                                                   ___________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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